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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS                    219 NOV -8     AM   1!:   12
                                       AUSTIN DIVISION

JON1 UTAUS-BB DOE, AND                           §
JON4 UTAUS-SA DOE                                §
         PLAINTIFFS,                             §.
V.                                               §
                                                       CAUSE NO. l:19-CV-398-LY
                                                 §
THE UNIVERSITY OF TEXAS AT                       §
AUSTIN,                                          §
        DEFENDANT.                               §


                        ORDER GRANTING MOTION TO DISMISS

       Before the court in the above-styled and numbered cause is Defendant the University of

Texas at Austin's ("the University") Motion to Dismiss Plaintiffs' Live Complaint filed on June

26, 2019 (Did. No. 8). Plaintiffs Joni UTAUS-BB Doe and Jon4 UTAUS-SA Doe(together,

"Plaintiffs"), both of whom are Texas residents and male undergraduate students at the

University, filed this action alleging that the University violated their federal and state-protected

rights and that they suffered ongoing economic and emotional harm.           Specifically, Plaintiffs

allege that they were intentionally targeted by the University and subjected to "draconian"

disciplinary policies that disparately impacted male students.        According to Plaintiffs, the

University's disciplinary policies violated their rights under Title IX of the Education

Amendments Act ("Title IX"), Section 1983 of the Civil Rights Act ("Section 1983"), and the

Texas Constitution. Plaintiffs further allege that the University breached an educational contract.

       In response to Plaintiffs' allegations, the University filed a Motion to Dismiss seeking

dismissal of all of Plaintiffs' claims under Rules 12(b)(1) and 12(b)(6) of the Federal Rules of

Civil Procedure. Plaintiffs filed a Response to Motion to Dismiss on July 16, 2019 (Dkt. No. 9),
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to which the University replied on July 23, 2019 (Dkt. No. 10).
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                                                                              Having considered the motion,

response, reply, and the applicable law, the court will grant the University's motion.

Background

       Plaintiffs' complaint against the University arises from an accusation of "hazing."

According to Plaintiffs, they were informed of the allegations against them and interviewed by

personnel from the University's Office of the Dean of Students.                   Plaintiffs presented their

version of events and informed the University that they had acted at the direction and coercion of

their fraternity. Ultimately, the University opted to discipline Plaintiffs and placed them on

disciplinary probation. In response, Plaintiffs sought to appeal the disciplinary decision to a

disciplinary committee within the Office of the Dean of Students and, if necessary, the Office of

the President of the University.     The University denied Plaintiffs' requests for an appeal.

Subsequently, Plaintiffs complied with the terms of their probation and completed an online

academic-integrity program.     Plaintiffs then sued the University, alleging violations of their

rights under Title IX, Section 1983, and Sections       3   and 19 of the Texas Constitution.

Legal Standard

    A. Federal Rule of Civil Procedure 12(b)(1)

    The Federal Rules of Civil Procedure allow for the dismissal of a case when the court lacks

jurisdiction over the subject matter.   FED.   R.   CIV. P.       12(b)(1). A court should grant a Rule

12(b)(1) motion only   if it appears certain that the plaintiff cannot prove a plausible set of facts
that establish subject-matter jurisdiction. See Lane        v.   Halliburton, 529 F, 3d 548, 557 (5th Cir.

2008). The party asserting jurisdiction bears the burden of proof. Ramming v. United States,

281 F.3d 158, 161 (5th Cir. 2001).        In deciding whether the facts establish subject-matter


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 Plaintiffs' live complaint is Plaintiffs' Second-Amended Complaint filed on June 23, 2019
(Dkt. No. 7). For simplicity, the court refers to it as the "complaint."

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jurisdiction, the court may consider (1) the complaint and (2) "undisputed facts evidenced in the

record." Waich v. Adjutant Gen. 's Dep 't of Tex., 533 F.3d 289, 293 (5th Cir. 2008).

   B. Federal Rule of Civil Procedure 12(b)(6)

   Under Rule 12(b)(6), a party may to move to dismiss an action for failure to state a claim

upon which relief can be granted.      FED. R.   cliv.   P. 12(b)(6).    A complaint need not contain

detailed factual allegations, but in order to avoid dismissal, the plaintiff' s factual allegations

"must be enough to raise a right to relief above the speculative level." Bell Ati. Corp.            v.


Twombly, 550 U.S. 544, 555 (2007); see also Cuvillier v. Taylor, 503 F.3d 397, 401 (5th Cir.

2007). In considering whether this standard is met, however, a court is not bound to accept as

true "a legal conclusion couched as a factual allegation."              Twombly, 550 U.S. at 555.   A

complaint must contain sufficient factual matter "to state a claim to relief that is plausible on its

face." Ashcroft   v.   Iqbal, 556 U.S. 662, 678 (2009).         To satisfy the requirement of facial

plausibility, a plaintiff must plead "factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged." Id. However, a court should

not accept "threadbare recitals of a cause of action's elements, supported by mere conclusory

statements, which do not permit the court to infer more than the mere possibility of

misconduct." Hershey v. Energy Transfer Partners, L.P., 610 F.3d 239, 245-46 (5th Cir. 2010).

Plaintiffs have failed to state a claim against the University under Title IX

       The University contends that Plaintiffs fail to state a claim for recovery under Title IX.

Plaintiffs allege that the University's disciplinary policies are selectively enforced to target male

students, and that these policies have a disparate impact on male students. Fundamentally,

Plaintiffs' Title IX claim boils down to a conclusory statement that the University's student

disciplinary policies punish male students with greater frequency and severity, and that the



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University selectively enforced these policies against Plaintiffs on the basis of their sex. In

reviewing Plaintiffs' factual allegations and supporting authorities, the court concludes that

Plaintiffs have failed to state a claim for Title IX discrimination upon which relief can be

granted.

           In relevant part, Title IX states that "[njo person   .   .   .   shall, on the basis   of sex, be

excluded from participation in, be denied the benefits of, or be subjected to discrimination under

any education program or activity receiving Federal fmancial assistance." 20 U.S.C.                §   168 1(a).

As a means     of enforcing its mandate, Title IX provides administrative remedies and an implied
right of action. Doe ex rel. Doe v. Dallas ISD, 220 F.3d 380, 383 (5th Cir. 2000) (citing Cannon

v. Univ.    of Chicago, 441 U.S. 677, 717 (1979)). Title IX's private right of action is specifically

intended to enforce a -prohibition on "intentional sex discrimination." Jackson             v.   Birmingham

Bd.   of Educ., 544 U.S.    167, 173 (2005). Although the body           of law in Title IX actions in the
context of disciplinary proceedings is not fully developed, claims challenging a university

disciplinary proceeding on grounds of sex-based bias generally fall within two categories:

"erroneous outcome" claims and "selective enforcement" claims. Kiocke                   v. Univ.   of Tex. at

Arlington, 938 F.3d 204, 210 (5th Cir. 2019) (quoting Yusuf v. Vassar Coil., 35 F.3d 709, 715

(2d Cir. 1994)).

        A. Erroneous Outcome

        Here, Plaintiffs have not specifically alleged an erroneous-outcome claim against the

University. Although the phrase "erroneous outcome" is not present in their complaint, Plaintiffs

do make reference to an erroneous-outcome claim in their response to the University's motion to

dismiss when they state that "erroneous outcome" is an element of a Title IX claim. However,

Plaintiffs fail to allege the first element of an erroneous-outcome claim, namely, that their



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disciplinary outcome was erroneous. See Kiocke, 2019 WL 4263499, at *3 In fact, Plaintiffs'

complaint implies that Plaintiffs did commit the acts of which the University accused them, and

that they committed the acts at the direction of their fraternity.          For this reason, Plaintiffs'

erroneous-outcome theory fails.

       B. Selective Enforcement

       The gravamen of Plaintiffs' Title IX allegation is that the University selectively enforced

its disciplinary policies against them on the basis     of their sex. Under a selective-enforcement

theory, a plaintiff is required to plead factual allegations that "the decision to initiate the

proceeding or that the severity of the penalty was motivated by gender irrespective of the

student's guilt or innocence."       Yusuf, 35 F.3d at 715.         Moreover, male plaintiffs must

demonstrate selective enforcement by alleging facts that a female student was in sufficiently

similar circumstances and that the female student was treated more favorably. Kiocke, 2019 WL

4263499 at *6; Austin   v. Univ.   of Or., 925 F.3d 1133, 1138 (9th Cir. 2019). Thus, selective-

enforcement claims are analogous to disparate-treatment claims brought in traditional

discrimination cases, such as those brought under Title VII of the Civil Rights Act of 1964, in

that they require the identification of a sufficiently-similar comparator. See 42 U.S.C.       §   2000e-

2(a)(1). Indeed, the comparator analysis under Title IX is the same as the analysis in Title VII

claims. See Cantuillo ISD   v.   Leija, 101 F.3d 393, 404 (5th Cir. 1996) ("In reviewing claims of

sexual discrimination brought under Title IX    . . .   courts have generally adopted the same legal

standards that are applied to such claims under Title VII."). Here, Plaintiffs fail to allege that

any individual female student has been treated more favorably under similar circumstances, nor

have they alleged more favorable treatment for female students under the "nearly identical"

circumstances required by Title VII. See Lee    v.   Kansas City   S. Ry.   Co., 574 F.3d 253, 260 (5th
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Cir. 2009). Indeed, Plaintiffs' complaint does not make any reference to a female student who

was treated more favorably under sUfficiently-similar circumstances. In their response to the

University's motion to dismiss, Plaintiffs argue that they refused to refer to any female students

in an effort to protect such students' anonymity.      This argument is unavailing because it is

entirely permissible to specify a comparator under Title VII without identifying the comparator

by name, so long as the comparators are identified by protected characteristics. See generally

Santos   v.   Wincor Nixdorf Inc., No. l:16-CV-440-RP, 2018 WL 6728483, at *2 (W.D. Tex.

Dec. 21, 2018) (unpublished).     Plaintiffs' allegations that they were treated differently than

similarly-situated female students on the basis of sex are merely conclusory. Therefore,

Plaintiffs' selective-enforcement claim fails.

         C. Disparate Impact

         Finally, at various points in their complaint, Plaintiffs state that the University's

disciplinary policies have a disparate impact on male students. A disparate-impact claim cannot

be brought under Title IX, because the Title IX private right of action extends only to intentional

discrimination. Fort v. Dallas ISD, 82 F.3d 414, 1996 WL 167072 at *4 (5th Cir. Mar. 11, 1996)

(unpublished) (Title IX plaintiff must establish intentional discrimination). See also Sayden     v.


Greensburg Community Sch. Corp., 743 F.3d 569, 583 (7th Cir. 2014) ("The discrimination must

also be intentional in order to support a claim for damages under Title IX."). Accordingly, to the

extent that Plaintiffs allege a disparate-impact claim under Title IX, the claim fails as a matter of

law.

         In sum, Plaintiffs have failed to adequately plead a Title IX claim upon which relief can

be granted.




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This court lacks subject-matter jurisdiction over Plaintiffs' remaining claims

         The University further contends that Plaintiffs' claims for violations of Section 1983, the

Texas Constitution, and breach of an educational contract are barred by the Eleventh

Amendment. See U.S. Const. amend XI. Plaintiffs seek equitable relief through their Section

1983 and state constitutional claims, and monetary damages through their breach-of-contract

claim. Having reviewed the complaint, the undisputed facts, and the applicable law, the court

concludes that it lacks subject-matter jurisdiction over Plaintiffs' remaining claims.

         Federal courts are courts of limited jurisdiction; absent jurisdiction conferred by statute or

the Constitution, they lack the power to adjudicate claims. See Kokkonen         v.   Guardian Lfe Ins.

Co., 511 U.S. 375, 377 (1994). Generally, Eleventh Amendment sovereign immunity "deprives

a federal court of jurisdiction to hear a suit against a state." Warnock v. Pecos Cnty, 88 F.3d 341,

342 (5th Cir. 1996).      Therefore, when a state agency is a named defendant, the Eleventh

Amendment "bars suits for both money damages and injunctive relief unless the state has waived

its immunity." Cozzo v. Tangipahoa Paris Council-President, 279 F.3d 273, 280-81 (5th Cir.

2002).      A state's waiver of immunity, whether it is express or implied, must be

unequivocal. Watson v. Tex., 261 F.3d 436, 440-41 (5th Cir. 2001).

         The University is a state entity and as such it is entitled to Eleventh Amendment

immunity.     Chhim   v. Univ.   of   Tex.   at Austin, 836 F.3d 467, 469 (5th Cir. 2016). Neither

congress nor the State of Texas has unequivocally waived the University's claim to sovereign

immunity here. As a state entity, the University is not a "person" for the purposes of imposing

liability under Section 1983. See Stotter v. University of Tex. at San Antonio, 508 F.3d 812, 821

(5th Cir. 2007) (citing Will     v.   Mich. State Dep't   of Police,   491 U.S. 58, 71 n. 10 (1989)).

Therefore, Plaintiffs' contention that they are seeking equitable relief under Section 1983 is



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irrelevant, because "the jurisdictional bar applies regardless of the relief being sought."

Pennhurst State Sch. & Hosp. v Halderman, 465 U.S. 89, 100 (1984). Consequently, Plaintiffs'

Section 1983 claim will be dismissed.

         Similarly, the University has not waived its sovereign immunity from Plaintiffs'

constitutional claims. Indeed, "the mere fact that Plaintiff's declaratory requests arise from the

Texas Constitution does not itself constitute a waiver of immunity." Banik        v.   Tamez, No. 7:16-

CV-00462, 2017 WL 2505653, at *26 (S.D. Tex. June 9, 2017). In Texas, constitutional-based

waiver is only applicable to Article I, Section 17 of the Texas Constitution, which prohibits the

taking, damaging, or destruction of property for public use without adequate compensation. Id.;

Idoux   v.   Lamar Univ. Sys., 817 F. Supp. 637, 641 (E.D. Tex. 1993). Here Plaintiffs allege

violations of Sections   3   and 19   of the Texas Constitution. Thus, Plaintiffs' claims under the

Texas Constitution will also be dismissed for lack of subject-matter jurisdiction.

        Finally, Plaintiffs' claim for "breach of Educational Contract" will also be dismissed for

lack of subject-matter jurisdiction. The Supreme Court of Texas has made clear that there is but

one route to the courthouse for breach-of-contract claims against entities of the State of Texas,

"and that route is through the legislature." Gen. Servs. Comm 'n    v.   Little-Tex Insulation Co., 39

S .W. 3d 591, 597 (Tex. 2001). Because      Plaintiffs' claims would be barred if they were brought

in state court, they are likewise barred in federal court, as the University has not unequivocally

expressed a waiver of Eleventh Amendment immunity. Moore           v. Univ.   Miss. Med. Ctr., 719 F

App'x 381, 387-88 (5th Cir. 2018). Plaintiffs' argument that the court can properly exercise

supplemental jurisdiction over their breach-of-contract claim is misplaced, because the grant of

supplemental jurisdiction does not abrogate Eleventh Amendment immunity. Raygor v. Regents




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of Univ. of Minn.,   534 U.S. 533, 541-42 (2002) ("[W]e hold that [28 U.S.C.]   §   1367(a)'s grant of

jurisdiction does not extend to claims against nonconsenting state defendants.").

       Accordingly, because the court lacks subject-matter jurisdiction over Plaintiffs'

remaining claims, they are dismissed pursuant to Rule 1 2(b)( 1 ).

       IT IS THEREFORE ORDERED that Defendant's Motion to Dismiss Plaintiffs' Live

Complaint (Dkt. No. 8) is GRANTED by the court for the reasons stated herein.

       IT IS FURTHER ORDERED that Plaintiffs' Second Amended Complaint (Dkt. No. 7)

is DISMISSED WITH PREJUDICE pursuant to Rules 12(b)(1) and 12(b)(6)                    of the Federal

Rules of Civil Procedure.

       A Final Judgment will be filed subsequently.

       SIGNED this            day of November, 2019.




                                              UNI ED STATES




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  In addition to the causes of action discussed above, Plaintiffs seek punitive damages, pre- and
post-judgment interest, and attorney's fees as separate "counts" in their complaint rather than
requests for relief. Because they are not standalone causes of action, and Plaintiffs have failed to
establish that they have a right to recovery in this case, these "counts" will also be dismissed.

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